Case
  Case
     19-34054-sgj11
       20-03190-sgj Doc
                    Doc 1822-123
                        84-4 FiledFiled
                                   02/02/21
                                        01/22/21
                                              Entered
                                                  Entered
                                                      02/02/21
                                                          01/22/21
                                                               17:29:16
                                                                   21:50:07
                                                                         PagePage
                                                                              1 of 12 of
                                           2




  November 30, 2020

  NexPoint Advisors, L.P.
  200 Crescent Court, Suite 700
  Dallas, Texas 75201

          RE:      Termination of Amended and Restated Shared Services Agreement, dated
                   January 1, 2018, and among Highland Capital Management, L.P.
                   (“HCMLP”), and NexPoint Advisors, L.P. (the “Agreement”).

  To Whom It May Concern:

  As set forth in Section 7.01 of the Agreement, the Agreement is terminable at will upon at least
  30 days advance written notice.

  By this letter, HCMLP is notifying you that it is terminating the Agreement. Such termination
  will be effective January 31, 2021. HCMLP reserves the right to rescind this notice of
  termination.

  Please feel free to contact me with any questions.

  Sincerely,

  HIGHLAND CAPITAL MANAGEMENT, L.P.

  /s/ James P. Seery, Jr.

  James P. Seery, Jr.
  Chief Executive Officer
  Chief Restructuring Officer




  DOCS_NY:41547.2 36027/002

                                                                                           Dondero Ex. 4
